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                     EXHIBIT 3
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                                                                                      United States District Court
                                                                                 For The Southern District of New York

                                                                                          Giuffre v. Maxwell
                                                                                          15-cv-07433-RWS
                                                                     Ghislaine Maxwell’s Privilege Log Amended as of May 16, 2016

***Per Local Rule 26.2, the following privileges are asserted pursuant to British law, Colorado law and NY law.

   Log ID          DATE          DOC.       BATES             FROM                                  TO               CC       RELATIONSHIP             SUBJECT              PRIVILEGE
                                 TYPE          #                                                                                OF PARTIES             MATTER
     1.        2011.03.15      E-Mails      1000-     Ghislaine Maxwell         Brett Jaffe, Esq.                            Attorney / Client    Communication      Attorney-Client
                                            1013                                                                                                  re: legal advice
     2.        2011.03.15      E-Mails      1014-     Brett Jaffe, Esq.         Ghislaine Maxwell                            Attorney / Client    Communication      Attorney-Client
                                            1019                                                                                                  re: legal advice
     3.        2015.01.02      E-Mails      1020-     Ross Gow                  Ghislaine Maxwell                            Attorney Agent /     Communication      Attorney-Client
                                            1026                                                                             Client               re: legal advice
     4.        2015.01.02      E-Mail       1024-     Ghislaine Maxwell         Ross Gow                                     Attorney Agent /     Communication      Attorney-Client
                                            1026                                                                             Client               re: legal advice
     5.        2015.01.02      E-Mail       1027-     Ross Gow                  Ghislaine Maxwell                 Brian      Attorney Agent /     Communication      Attorney-Client
                                            1028                                                                  Basham     Client               re: legal advice
     6.        2015.01.06      E-Mail       1029      Ghislaine Maxwell         Jeffrey Epstein                              Common Interest      Communication      Common Interest
                                                                                                                                                  re: legal advice
     7.        2015.01.06      E-Mail       1030-     Ghislaine Maxwell         Jeffrey Epstein,                             Attorney / Client    Communication      Common Interest
                                            1043                                Alan Dershowitz, Esq.                                             re: legal advice
     8.        2015.01.10      E-Mail       1044      Ghislaine Maxwell         Philip Barden, Esq.,                         Attorney / Client    Communication      Attorney-Client
                                                                                Ross Gow                                                          re: legal advice
     9.        2015.01.10      E-Mail       1045-     Ghislaine Maxwell         Philip Barden, Esq.                          Client / Attorney    Communication      Attorney-Client
                                            1051                                                                                                  re: legal advice
     10.       2015.01.09      E-Mails      1052-     Ross Gow                  Philip Barden, Esq.               G.         Agent / Attorney /   Communication      Attorney-Client
               2015.01.10                   1055                                                                  Maxwell    Client               re: legal advice
     11.       2015.01.11      E-Mail       1055-     Ghislaine Maxwell         Jeffrey Epstein                              Common Interest      Communication      Common Interest
                                            1058                                                                                                  re: legal advice
     12.       2015.01.11      E-Mail       1055-     Philip Barden, Esq.       Ross Gow                          G.         Attorney / Agent /   Communication      Attorney-Client
                                            1058                                                                  Maxwell    Client               re: legal advice
     13.       2015.01.11      E-Mail       1056-     Philip Barden, Esq.       Ghislaine Maxwell                 Ross       Attorney / Agent /   Communication      Attorney-Client
                                            1058                                                                  Gow        Client               re: legal advice




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14.   2015.01.11 –   E-Mails      1059-     Jeffrey Epstein        Ghislaine Maxwell                        Common Interest         Communication        Common Interest Privilege
      2015.01.17                  1083                                                                                              re: legal advice
15.   2015.01.13     E-Mail       1067-     Ghislaine Maxwell      Jeffrey Epstein                          Common Interest         Communication        Common Interest Privilege
                                  1073                                                                                              re: legal advice
16.   2015.01.13     E-Mail       1069-     Philip Barden, Esq.    Martin Weinberg, Esq.                    Common Interest         Communication        Common Interest Privilege
                                  1073,                                                                                             re: legal advice

                                  1076-
                                  1079
17.   2015.01.13     E-Mails      1068-     Philip Barden, Esq.    Ghislaine Maxwell                Mark    Attorney / Client       Communication        Attorney-Client
                                  1069,                                                             Cohen                           re: legal advice

                                  1074-
                                  1076
18.   2015.01.21     E-Mail       1088-     Ross Gow               Philip Barden, Esq., Ghislaine           Agent / Attorney /      Communication        Attorney-Client
                                  1090                             Maxwell                                  Client                  re: legal advice
19.   2015.01.21 -   E-Mails      1084-     Jeffrey Epstein        Ghislaine Maxwell                        Common Interest         Communication        Common Interest Privilege
      2015.01.27                  1098                                                                                              re: legal advice
20.   2015.01.21-    E-Mails      1099      Ghislaine Maxwell      Jeffrey Epstein                          Common Interest         Communication        Common Interest Privilege
      2015.01.27                                                                                                                    re: legal advice
21.   2015.04.22     E-mail       7 pages   Jeffrey Epstein        Ghislaine Maxwell                        Common Interest         Forwarding           Common Interest Privilege
                                                                                                                                    message from
                                                                                                                                    Martin Weinberg,
                                                                                                                                    labeled “Attorney-
                                                                                                                                    Client Privilege”
                                                                                                                                    with attachment
22.   Various        E-mails                Agent of Haddon,       Agent of Haddon, Morgan &                Agent of attorney and   Attorney work        Attorney Work Product
                                            Morgan & Foreman;      Foreman; Laura Menninger                 Attorney                product
                                            Laura Menninger
23.   Various        E-mails                Mary Borja; Laura      Mary Borja; Laura Menninger              Attorney Work           Attorney work        Attorney Work Product
                                            Menninger                                                       Product                 product
24.   2015.10.21 –   E-mail                 Darren Indyke; Laura   Darren Indyke; Laura Menninger           Attorneys for parties   Common Interest      Attorney Work Product;
      2015.10.22     chain with             Menninger                                                       to Common Interest      Agreement            Common Interest Privilege
                     attachmen                                                                              Agreement
                     t




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